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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               ABILENE DIVISION

I.INITED STATES OF AMERICA,

       Plaintiff,

                                                         No. 1:20-CR-078-H-BU

LARRY JOHN SZASZ,

       Defendant.


     ORDERACCEPTING REPORT AND RECOMMENDATION AND ORDER
            R-EFERRING THE ISSUE OF DETENTION TO TTM
                UNITED STATES MAGISTRATE JUDGE

       Before the Court are the Notice Regarding Entry of a Plea of Guilty, the Consent of

the Defendant, and the Report and Recommendation Conceming Plea of Guilty of the

United States Magistrate Judge. As no objections to the Report and Recommendation have

been flled within fourteen days of service in accordance with 28 U.S.C. $ 636(b)(l), the

Court accepts and adopts the Report and Recommendation. Accordingly, the Court accepts

the plea ofguilty, and Szasz is hereby adjudged guilty of Distribution and Receipt of Child

Pomography in violation of 18 U.S.C.   $$   2252A(aX2) aod2252{b)Q). Sentence will be

imposed in accordance with the Court's scheduling order. The Court now refers the issue of

mandatory detention pending sentencing to the Honorable Magistrate Judge Parker.

l.     Background

       The Indictment charges a violation of 18 U.S.C. $0 2252A(aX2) and2252A@)(l)'

that is Distribution and Receipt of Child Pomography. On December 23, 2020, Szasz pled

guilty to the charge. The Honorable Magistrate Judge Parker recommended that the plea be
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accepted. Having accepted that recommendation, Szasz has now been adjudged guilty of

Distribution and Receipt of Child Pomography.

2.        Legal Stanilard Governing Manrlatory Detention

          Title   18   United States Code, Section 3la3@)(2) mandates detention after          a   guilty

plea if the offense of conviction is among those listed in 18 U.S.C. 0 3142(0(1)(A)-(C).

Section 3142(fl(1)(A) details three categories of          crime-a crime of violence, a violation of

Section 1591, or an offense listed in Section 2332b(g)(5)(B). Here, Distribution and Receipt

of Child Pomography is a crime of violence.

          A crime of violence     is defined, among other things, as a felony under Chapters 77,

109A, 110, or 117 of Title 18. 18 U.S.C.         $   3156(a)(   ).   Chapter 110 inciudes the statute of

conviction at issue in this case-18 U.S.C. $$ 2252A(a)(2) and2252A(b)(l).

          Section 3143(a)(2) details two exceptions to mandatory detention for defendants

awaiting imposition or execution of a sentence. The defendant must be detained unless

"(A)(i)   the   judicial officer finds there is a substantial likelihood that    a   motio for acquittal or
new ffial will be granted; or (ii) an attomey for the Govemment has recommended that no

sentence of imprisonment be imposed on the person; and @) the judicial officer finds by

clear and convjncing evidence that the person is not likely to flee or pose a danger to any

other person or the community." Id. Additionally, a person otherwise "subject to detention

under Section 3143@)(2), and who meets the conditions ofrelease set forth in Section

3143(a)(1) or (b)(1), may be ordered released, under appropriate conditions, by the judicial

officer, if it is clearly shown t}tat there are exceptional leasons why such person's detention

would not be appropriate."         18   U.S.C. $ 3145(c).




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       The Court thus refers this matter to the Honorable Magistrate Judge Parker to

determine whether Section 3143(a)(2)'s or Section 3145(c)'s exceptions are satisfied.

3.     Conclusion

       The issue of mandatory detention fot this offense is referred to Magistrate Judge

Parker for resolution.

       So ordered on     JanuaryZL, 2021.


                                                             )
                                                           WESLEYIIEND
                                                            STATES DISTRICT JUDGE




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